Case 2:14-cv-00595-WBS-JDP Document 80-21 Filed 12/15/14 Page 1 of 8




                        Exhibit U




                               -164-
Case 2:14-cv-00595-WBS-JDP Document 80-21 Filed 12/15/14 Page 2 of 8




                               -165-
Case 2:14-cv-00595-WBS-JDP Document 80-21 Filed 12/15/14 Page 3 of 8




                               -166-
Case 2:14-cv-00595-WBS-JDP Document 80-21 Filed 12/15/14 Page 4 of 8




                               -167-
Case 2:14-cv-00595-WBS-JDP Document 80-21 Filed 12/15/14 Page 5 of 8




                               -168-
Case 2:14-cv-00595-WBS-JDP Document 80-21 Filed 12/15/14 Page 6 of 8




                               -169-
Case 2:14-cv-00595-WBS-JDP Document 80-21 Filed 12/15/14 Page 7 of 8




                               -170-
Case 2:14-cv-00595-WBS-JDP Document 80-21 Filed 12/15/14 Page 8 of 8




                               -171-
